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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE
                            CIVIL ACTION NO. 3:16-CR-148-TBR


UNITED STATES OF AMERICA,                                                          PLAINTIFF

v.

ELIAS ESTEPHANE,                                                                  DEFENDANT


                         MEMORANDUM OPINION AND ORDER

       This matter is before the Court upon seven Motions in Limine. These matters are now

ripe for adjudication. The Court’s disposition is discussed in detail below.

                                          I. Background

       Defendant Elias Estephane (“Estephane”) has been charged by the United States with one

count of Food Stamp Fraud, in violation of 7 U.S.C. § 2024(b), and two counts of Wire Fraud, in

violation of 18 U.S.C. § 1343. [DN 1, at 1-3.] These charges stem from Estephane’s operation of

“The Meat Store,” a meat and poultry store he owned in Louisville, Kentucky. [Id. at 2.] The

Meat Store participated in the Supplemental Nutrition Assistance Program (“SNAP”). [DN 31.]

The United States alleges that “[f]rom in or around January 2012, through in or around July

2016, in furtherance of the scheme and artifice to defraud, [Estephane] agreed to provide cash in

exchange for [SNAP] benefits. Specifically, individuals receiving [SNAP] benefits would

provide [Estephane] with their Electronic Benefits Transfer cards, and request a specific amount

of cash.” [DN 1, at 2-3.] Then Estephane would allegedly “give the individual the requested

amount in cash, then charge approximately twice the requested amount to a card. [Id.] The

United States further alleges that Estephane’s actions caused wire communications in interstate

commerce, thus constituting wire fraud. [Id. at 3.] Estephane “does not dispute that he


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participated in the SNAP program during the period stated in the Indictment, but does dispute the

claim that he executed a scheme to defraud or misrepresent material information to the

Government.” [DN 31, at 1.] The parties have filed seven Motions in Limine, four by Estephane

and three by the United States. The merits of these motions are discussed below.

                                       II. Legal Standard

       Utilizing its inherent authority to manage the course and direction of the trial before it,

this Court has the power to exclude irrelevant, inadmissible, or prejudicial evidence through in

limine rulings. See Luce v. United States, 469 U.S. 38, 41 n.4 (1984) (citing Fed. R. Evid.

103(c)); Louzon v. Ford Motor Co., 718 F.3d 556, 561 (6th Cir. 2013). Unless the evidence at

issue is patently “inadmissible for any purpose,” Jonasson v. Lutheran Child & Family Servs.,

115 F.3d 436, 440 (7th Cir. 1997), though, the “better practice” is to defer evidentiary rulings

until trial. Sperberg v. Goodyear Tire & Rubber Co., 519 F.2d 708, 712 (6th Cir. 1975). This

stance is favored so that “questions of foundation, relevancy and potential prejudice may be

resolved in proper context.” Gresh v. Waste Servs. of Am., Inc., 738 F. Supp. 2d 702, 706 (E.D.

Ky. 2010). When this Court issues a ruling in limine, it is “no more than a preliminary, or

advisory, opinion.” United States v. Yannott, 42 F.3d 999, 1007 (6th Cir. 1994) (citing United

States v. Luce, 713 F.2d 1236, 1239 (6th Cir. 1983), aff’d, 469 U.S. 38). Thus, even where a

motion in limine is denied, the Court may return to its previous ruling at trial “for whatever

reason it deems appropriate.” Id. (citing Luce, 713 F.2d at 1239).

                 III. Motion in Limine to Exclude Local SNAP Comparisons

       The first Motion at issue is Estephane’s Motion in Limine to exclude SNAP

Comparisons. [DN 32.] The United States has responded. [DN 44.] Here, Estephane argues that,

to the extent that the United States wishes to introduce monthly sales figures from other local



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meat and poultry stores for comparison purposes, such as Karem’s Meats, Dong Phoung

Grocery, and Butcher’s Best, the United States should be precluded from doing so. [DN 32, at 1.]

Estephane argues that “[i]t is not possible to determine whether a SNAP sale is legal by store-to-

store comparison,” and that “[s]uch evidence is not relevant to the question of whether Mr.

Estephane’s SNAP sales were legitimate and are not admissible under FRE 402.” [Id.] Further,

Estephane argues that, even if the monthly sales comparisons have any relevancy to the instant

case, “any probative value is substantially outweighed by the danger of unfair prejudice and thus

is inadmissible pursuant to FRE 403.” [Id.] In its Response, the United States “agree[s] to the

primary request in [Estephane’s] motion, in that [the United States] will not seek to introduce

monthly total SNAP sales numbers in store-to-store comparison including Karem’s Meats, Dong

Phoung Grocery, and Butcher’s Best. Because of this, Estephane’s Motion in Limine on this

issue has been rendered moot.

                      IV. Motion in Limine to Exclude Informant Video

       The second Motion at issue is Estephane’s Motion in Limine to exclude a video taken of a

transaction between a confidential informant and a sales clerk at the Meat Store. [DN 39.] The

United States has responded to this Motion. [DN 43.] As described in Estephane’s Motion, this

video “purports to show an undercover transaction in [Estephane’s] retail establishment known

as the ‘Meat Store.’ Mr. Estephane is not shown in the video. The informant…makes a $7.00

transaction and asks for change back on his EBT card. The informant deals with another

individual (not the Defendant Estephane).” [DN 39, at 1.] Estephane argues that “[t]he video

does not establish that a crime occurred,” and that it “is so minimally probative of any issue of

consequence in this case that it’s [sic] admission will necessarily create a danger of misuse by

the jury to the Defendant’s substantial prejudice.” [Id.] Further, Estephane argues that the video



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“is an attempt by the United States to show a culture of crime occurring at Mr. Estephane’s

store.” [Id.] Estephane seeks to have this video excluded under Federal Rules of Evidence 403

and 404. Rule 403 allows for the exclusion of relevant evidence “if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.” Fed. R. Evid. 403. Rule 404(a) prohibits the introduction of propensity

evidence. Fed. R. Evid. 404(a).

       The United States has made known its intention to introduce this video into evidence at

trial. To that end, the United States makes three separate arguments. First, it argues that

Estephane “was responsible for any SNAP benefits fraud done by his employees.” [DN 43, at 2.]

Estephane, as the owner of the Meat Store, “is the one who would profit from any SNAP benefits

fraud,” because “[a]ll money from SNAP benefits used at the Meat Store was deposited into a

bank account under [Estephane’s] control.” [Id.] Additionally, Estephane was responsible for

training his employees on SNAP issues and for making sure they followed proper protocols.

Thus, the United States argues, “[t]he fact that [Estephane] was responsible for training

employees on SNAP regulations and was the one who profited from violations of the regulations

through fraud provides a solid evidentiary basis for linking SNAP-related actions of Meat Store

employees to the Defendant.” [Id.] The United States uses this information to try and establish

that “the employee is a co-conspirator, and the comment [made by the employee to the informant

regarding SNAP benefits exchanges for cash] is a co-conspirator statement.” [Id. at 2-3.] The

Court rejects this argument.

       Pursuant to Federal Rule of Evidence 801(d)(2)(E), a statement made by a defendant’s

co-conspirator “during and in furtherance of the conspiracy” is not hearsay. For such a statement



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to be admissible under this rule, the proffering party must prove three things: (1) a conspiracy

existed; (2) that the defendant was a member of this conspiracy; and (3) the co-conspirator’s

statement was made in furtherance of that conspiracy. United States v. Rogers, 118 F.3d 466, 477

(6th Cir. 1997). As an initial matter, the United States has not shown that a conspiracy existed

with respect to the alleged fraudulent exchange of SNAP benefits for cash. The employee from

the informant video was not indicted, is not a co-defendant in this case, and the United States has

not set forth facts or an argument tending to show that a “conspiracy” existed under the meaning

of the term. “The government must submit non-hearsay evidence – evidence beyond the

declarant’s statements – to corroborate these contentions.” United States v. Harris, 200 F. App’x

472, 485 (6th Cir. 2006) (citing United States v. Payne, 437 F.3d 540, 544 (6th Cir. 2006), cert.

denied, 547 U.S. 1217 (2006)). Here, the United States has simply failed to show that (a) a

conspiracy existed, or (b) that the employee in the video or Estephane was actually a part of it.

Because the United States has not shown that a conspiracy existed and, if it did, what members

comprised it, or what the conspiracy’s aims were, the Court need not reach the issue of whether

the statements in the video were made in furtherance of that conspiracy.

       The second argument advanced by the United States is that “the transaction [shown in the

video] is important background information for Confidential Informant No. 2’s testimony.” [DN

43, at 3.] Here, the United States cites United States v. Roberts, 548 F.2d 665, 667 (6th Cir.

1977) for the proposition that “[t]he jury is entitled to know the ‘setting’ of a case.” This is true,

as is the notion that a jury “cannot be expected to make its decisions in a void – without

knowledge of the time, place, and circumstances of the acts which form the basis of the charge.”

Id. However, the Court does not believe that this language is properly applied to the informant

video in this case. First, Estephane, the individual actually charged, is not present in the video,



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nor is he referenced in the video. Second, the video does not show any fraud taking place. [See

DN 43, at 3, explaining that the informant “was unsuccessful, but he was encouraged to come

back to the store.”] Third, the Court fails to see how the video is “relevant to…any attacks on

Confidential Informant No. 2’s credibility,” or how “[l]eaving out the first visit would mislead

the jury.” [Id.] Instead, the Court agrees with Estephane’s characterization of the video that the

“minimal[ly] probative value of this video contrasts sharply with its potential to unfairly

prejudice the Defendant and confuse the jury.” [DN 39, at 3.] In short, the jury is certainly

entitled to “know the setting of [the] case,” Roberts, 548 F.2d at 667, but the Court finds that this

generalism is not appropriately applied to an undercover informant video which shows no illegal

activity or the defendant.

       The third argument offered by the United States is that the “transaction is relevant to

proving the Defendant’s knowledge of SNAP restrictions on trading cash for SNAP benefits.”

[DN 43, at 3.] This argument is unconvincing, for while the conduct of the employee in the video

is questionable, Estephane was not present when the exchange took place, nor did the employee

expressly reference Estephane’s willingness to fraudulently exchange SNAP benefits for cash.

Instead, the video merely shows one of Estephane’s employees suggesting that an exchange

could be made in the future if the informant shopped at the Meat Store more frequently. The

United States has made known its intention to offer testimony that Estephane’s two sons,

employees at the Meat Store, had actual knowledge of the fraudulent scheme. [Id.] Thus, this

video is certainly relevant under Federal Rule of Evidence 401. However, even where evidence

is relevant, it may be excluded where that relevance is substantially outweighed by the danger of

unfair prejudice or confusing the jury, among other issues. Fed. R. Evid. 403. The Court utilizes

its broad discretion on evidentiary matters to exclude this video. The United States argues that



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the video is not unfairly prejudicial because “the Defendant was not even present for the

transaction.” [DN 43, at 4.] However, in the Court’s estimation, that actually makes it more

prejudicial to Estephane, for there is no indication in the video that Estephane knew anything

with respect to a fraudulent SNAP benefits exchange, even though that is the implication of the

video. The Court will exclude it.

                    V. Motion in Limine to Exclude Reverse 404(b) Evidence

        The third Motion at issue is the United States’ Motion in Limine to exclude Estephane’s

reverse 404(b) evidence. [DN 40.] The United States references Estephane’s intent to “introduce

evidence of instances when he did not exchange cash for SNAP benefits, such as evidence that

he sold meat generally or instances when he legitimately exchanged eligible food items for

benefits.” [Id. at 1.] The United States argues that this evidence both violates 404(b) and is

irrelevant. [Id.]

        Pursuant to Federal Rule of Evidence 404(b)(1), “[e]vidence of a crime, wrong, or other

act is not admissible to prove a person’s character in order to show that on a particular occasion

the person acted in accordance with the character.” “Reverse 404(b)” evidence is also evidence

of a prior act or acts but “is offered as exculpatory evidence by the defendant, instead of being

used by a prosecutor against a defendant.” United States v. Lucas, 357 F.3d 599, 605 (6th Cir.

2004). “Despite the different implications raised by the admission or exclusion of reverse 404(b)

evidence,” the Sixth Circuit has applied its “standard 404(b) analysis in addressing the

admissibility of such evidence.” United States v. Clark, 377 F. App’x 451, 458 (6th Cir. 2010).

        This Court is guided by the Sixth Circuit’s decision in United States v. Daulton, 266 F.

App’x 381 (6th Cir. 2008) in reaching its decision that this reverse 404(b) evidence should be

excluded. In Daulton, the defendant, a tax preparation business employee, “was indicted on ten



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counts of aiding or assisting in the preparation or filing of false federal income tax returns…for

the years 1997 and 1998. Id. at 383. That number was later pushed up to eighteen counts. Id. The

district court excluded the defendant’s proffered evidence “from clients who had their tax returns

prepared by [the tax preparation business] for several years and whose returns never included

false deductions.” Id. at 384. The district court concluded that introduction of instances in which

the defendant did not engage in illegal activity would be “irrelevant and immaterial to whether

[the defendant] prepared the eighteen false returns listed in the indictment.” Id. at 386. The

Daulton Court then cited to its previous decision in United States v. Dobbs, 506 F.2d 445, 447

(6th Cir. 1975), where it “found noncriminal conduct irrelevant because the defendants were

charged with separate instances of criminal conduct and not a scheme.” Daulton, 266 F. App’x at

386 (citing Dobbs, 506 F.2d at 447). Crucial to the district court’s decision was that the

defendant in Daulton was not accused of “always engag[ing] in criminal activity when preparing

tax returns, but rather that the defendant has a method for maximizing refunds by including

deductions for expenses that were not incurred. Therefore, the proffered evidence of instances in

which [the defendant] prepared truthful returns is irrelevant to the charged instances.” Id.

       The facts of Daulton bear a striking resemblance to this case. Specifically, the United

States provides in the instant Motion that “there is no allegation that…[Estephane’s] stores were

mere fronts for non-stop fraud,” and that it “acknowledges that the Meat Store and the Meat

Store 2 both were real businesses that sold meat….” [DN 40, at 2.] Rather, Estephane has been

charged with one count of SNAP fraud and two counts of wire fraud; he has not been charged

with conspiracy, and the United States has made no allegations to that effect. Estephane, of

course, argues that evidence of non-fraudulent sales at the Meat Store is relevant under Federal

Rule of Evidence 401, stating that “[e]vidence tending to show a pattern or practice of lawful



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dealing[s] certainly bears on the question of whether fraud has occurred.” [DN 46, at 1.]

However, “[e]vidence of noncriminal conduct to negate the inference of criminal conduct is

generally irrelevant.” Dobbs, 506 F.2d at 447. Here, the Court applies the rule and reasoning of

Daulton and reaches the conclusion that Estephane’s proffered evidence is immaterial and

irrelevant to the question of whether, on the times in question, he committed fraudulent acts.

Because “[e]vidence of noncriminal activities ‘would only be relevant if the indictment charges

the defendant[] with ceaseless criminal conduct,’” Daulton, 266 F. App’x at 386 (quoting United

States v. Scarpa, 913 F.2d 993, 1011 (2d Cir. 1990)), the Court will exclude this evidence.

    VI. Motion in Limine to Exclude References and Records Pertaining to 2010 Assault

       The fourth Motion at issue is the United States’ Motion in Limine to exclude references

to and records pertaining to a 2010 assault suffered by Estephane. [DN 41.] The United States

explains that in February 2010, “prior to the alleged conduct in this case, the Defendant was

assaulted while working at his former store…, which is not one of the stores at issue in this case.

As a result of this assault, the Defendant incurred injuries, including a head injury, and had

to…undergo rehabilitation therapy.” [Id. at 1.] And because Estephane has indicated to the

United States that he intends to introduce evidence referencing or otherwise pertaining to this

assault, the United States has objected, arguing that this evidence is “irrelevant and more

prejudicial than probative.” [DN 41 at 1.] The Court agrees.

       Pursuant to Federal Rule of Evidence 401, “[e]vidence is relevant if it has any tendency

to make a fact more or less probable than it would be without the evidence; and the fact is of

consequence in determining the action.” Estephane has not offered, and the Court cannot find,

any reason why evidence of this assault would have a tendency to make any fact more or less

probable in a SNAP- and wire-fraud case stemming from events that did not even begin to



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allegedly occur until roughly two years later. [See DN 41.] As the United States notes, “[t]he

assault described in the records occurred prior to the allegations in the Indictment and prior to the

time that the Defendant opened the Meat Store…Records concerning the assault do not make any

element required to prove [or disprove] SNAP fraud or wire fraud more or less probable.” [Id. at

2.]

        Additionally, even if evidence of the 2010 assault has some tendency to make a fact more

or less probable in this case, and is of consequence in determining whether SNAP- and wire-

fraud occurred, any probative value the evidence has is substantially outweighed by the

prejudicial or misleading effect it could have on the jury. See Fed. R. Evid. 403. Specifically, the

degree of probativeness that the assault could have in a case such as this is infinitesimal;

conversely, the prejudicial effect that this evidence could have on a jury could be substantial, in

that it might engender irrelevant sympathies that do not bear whatsoever upon the elements of

this type of case. Moreover, the evidence of a prior head injury from which Estephane has

apparently completely recovered could mislead the jury into an analysis of Estephane’s mental

health. The Court will exclude references to and records pertaining to the 2010 assault.

      VII. Motion in Limine Opposing Defendant’s Request for Jury Calculation of Loss

        The fifth Motion in Limine is the United States’ Motion opposing Defendant’s request for

jury calculation of loss. [DN 42.] Defendant has not filed any objections at this time. Therefore,

the Court determines that the Defendant has no objections and the Motion is granted.


 VIII. Motions in Limine to Preclude Statewide Store Averages of SNAP Transactions and
                          the “Computer Generated Red Flags”

        The sixth and seventh Motions at issue are Estephane’s Motions in Limine to exclude the

introduction into evidence of statewide averages of SNAP transactions, [DN 48], and to exclude



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the “computer generated red flags.”1 [DN 49.] The United States has responded. [DN 50.] In

support of his Motions, Estephane argues that (1) the evidence of such statewide averages and

ALERT scans would be irrelevant under Federal Rule of Evidence 401; (2) “[t]he calculation of

statewide store averages…involves assumptions, theories, and mathematical operations that

cannot be testified to by non-expert witnesses,” as do the ALERT scans, and (3) “the proposed

testimony would not be helpful but would instead confuse and mislead the jury” in violation of

Rule 403. [DN 48, at 1.]

        First, as noted above, the test for relevancy under Rule 401 presents a low bar: the

proffered evidence need only “make a fact more or less probable than it would be without the

evidence; and…[be] of consequence in determining the action.” Fed. R. Evid. 401. Here, the

Court is satisfied that the statewide averages of SNAP transactions and the ALERT system

evidence are relevant. Estephane appears to concede that this evidence would make a fact “more

or less probable,” but argues that “the reason for the investigation does not address an issue of

consequence in this case.” [DN 48, at 1 (emphasis added).] To be sure, that is the second

requirement under the Rule 401 test for relevancy. However, as the United States correctly points

out, “of consequence” should not be equated with “dispositive.” [DN 50, at 3.] Rather, the phrase

“of consequence” is more appropriately analyzed through the lens of materiality, as applied to a

given case. See United States v. Dunn, 805 F.2d 1275, 1281 (6th Cir. 1986) (explaining that “the

fact to be proved must also be ‘of consequence to the determination of the action’; that is,

material.”) Here, the statewide averages of SNAP transactions are material to the case, as are the

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  What Estephane refers to as “computer generated red flags,” the United States identifies as “ALERT scans.” These
so-called “‘ALERT scans’ are programmed into the USDA ALERT system, which tracks each SNAP purchase,
including the time and date of each transaction, the card number for the SNAP EBT card that was used, the dollar
amount of the purchase, how much money was available on the card prior to the purchase, and which store the
transaction occurred at. These red flag were added into the ALERT system based on what the USDA retailer
investigators were seeing in terms of unusual transactions during fraud investigations. The ALERT scans are not
viewed as definitive markers of fraud, but rather are used as an investigative tool in identifying transactions and
retailers for further investigation.” [DN 50, at 2.]

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ALERT scans, the latter of which are what actually prompted the investigation into Estephane’s

business in the first place. [See DN 50, at 2.] Estephane has been charged with, among other

things, the act of providing cash back to customers on SNAP transactions for $.50 on the dollar.

Thus, there could very well be slight or extreme deviations between the sales numbers at the

Meat Store and other similar meat and poultry stores. Similarly, there could be almost no

variance between the Meat Store and other meat and poultry stores, which would also be “of

consequence” to this action. Moreover, evidence explaining exactly why the United States

became interested in Estephane’s business, the ALERT scans, certainly appears to the Court to

be of consequence in this case.

       Second, the Court is not convinced that an expert would be needed to proffer evidence

regarding simple averages or the ALERT scans. Indeed, the Sixth Circuit has noted that “there is

no requirement that statistical evidence be supported by expert testimony.” McCabe v. Champion

Intern. Corp., 916 F.2d 713 (6th Cir. 1990). Simple averages are “matter[s] of arithmetic ‘within

the capacity of any reasonable lay person.’” United States v. Madison, 226 F. App’x 535, 544

(6th Cir. 2007) (quoting United States v. Hamaker, 455 F.3d 1316, 1331-32 (11th Cir. 2006).

Also, as the Tenth Circuit has noted, “[a] mathematical calculation well within the ability of

anyone with a grade-school education is, in our opinion, more aptly characterized as a lay

opinion under Fed. R. Evid. 701.” Bryant v. Farmers Ins. Exch., 432 F.3d 1114, 1124 (10th Cir.

2005)). And here, the United States has made known its intent to offer these statistics not as an

opinion of Estephane’s allegedly fraudulent behavior, but rather, “in the form of facts” regarding

the statewide averages, and nothing more. [See DN 50, at 6.]

       Moreover, although the Sixth Circuit does not appear to have had occasion to examine

the issue of whether experts are required for the presentation of evidence regarding the ALERT



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scans, the Southern District of Texas has, and ruled that experts were not required. See Tikabo v.

United States, No. H-16-2197, 2017 U.S. Dist. LEXIS 151959, at *13 (S.D. Tex. Aug. 21, 2017)

(explaining that “no…expert report is required to support the ALERT data or analysis resulting

from such data”); see also Maredia v. United States, No. 4:13-cv-1124, 2016 U.S. Dist. LEXIS

189772, at *14-15 (S.D. Tex. Aug. 16, 2016) (explaining that “[t]his Court knows of no other

court that requires an expert affidavit for the use of the ALERT data or the analysis thereof.”).

       Third, Estephane argues that, even if the statewide averages and ALERT scans are

relevant and do not require expert testimony, this evidence should be excluded under Rule 403.

Estephane does not cite to authority, other than to the Federal Rules of Evidence generally, in

support of his argument as to why this is the case, but merely states that “the proposed testimony

would not be helpful but would instead confuse and mislead the jury,” [DN 48, at 1], and that

“[t]he jury will wrongfully give this ‘scientific evidence’ more weight than it deserves to Mr.

Estephane’s prejudice.” [DN 49, at 1.] The Court is confident that simple averages regarding

statewide store SNAP sales would not “confuse” the jury. Additionally, there is no evidence

regarding how the jury would be misled by the presentation of this evidence. Conversely,

information concerning the ALERT scans and precisely how the investigation into Estephane

began is highly probative and will provide the jury with crucial information concerning how the

investigation works and what markers the United States looks for in these situations. The

probative value of the statewide averages and the ALERT scans is not substantially outweighed

by any prejudicial effect to Estephane, or any risk of juror confusion. For these reasons, the

Court will allow the introduction of both pieces of evidence.

                                          IX. Conclusion

       For the reasons stated herein, IT IS HEREBY ORDERED as follows:



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1) Estephane’s Motion in Limine to exclude local SNAP comparisons [DN 32] is DISMISSED

AS MOOT.

2) Estephane’s Motion in Limine to exclude the undercover informant video [DN 39] is

GRANTED.

3) The United States’ Motion in Limine to exclude reverse 404(b) evidence [DN 40] is

GRANTED.

4) The United States’ Motion in Limine to exclude references to and records pertaining to the

2010 assault [DN 41] is GRANTED.

5) Estephane’s Motion in Limine to preclude introduction of statewide store averages of SNAP

transactions [DN 48] is DENIED.

6) The United States’ Motion in Limine Opposing Defendant’s Request for Jury Calculation of

Loss [DN 42] is GRANTED.

7) Estephane’s Motion in Limine to preclude introduction of computer generated red flags [DN

49] is DENIED.

       IT IS SO ORDERED




                                                       October 31, 2017




cc:    Counsel of Record




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